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 8                                   UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RALPH COLEMAN, et al.,                          No. 2:90-cv-0520 KJM DB P
12                      Plaintiff,
13           v.                                       ORDER
14    GAVIN NEWSOM, et al.,
15                      Defendants.
16

17

18          The matter of payment of the Special Master has been referred to this court by the district
19   court. The court has reviewed the bill for services provided by the Special Master in the above-
20   captioned case through the month of October 2023.
21          Good cause appearing, IT IS HEREBY ORDERED that:
22                 1. The Clerk of the Court is directed to pay to
23                         Pannone Lopes Devereaux & O’Gara LLC
                           Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                         Northwoods Office Park, Suite 215N
                           1301 Atwood Avenue
25                         Johnston, RI 02919
26
27   the amount of $921,205.46 as payment of the statement attached to this order; and
28
                                                      1
     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 2 of 7


 1                 2. A copy of this order shall be served on the financial department of this court.

 2   Dated: December 5, 2023
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     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 3 of 7


 1   RALPH COLEMAN, et al.,                      :
         Plaintiffs,                             :
 2                                               :       No. Civ. S-90-0520 LKK JFM P
            v.                                   :
 3                                               :
     EDMUND G. BROWN, JR., et al.                :
 4       Defendants.

 5    The Special Master hereby submits his latest statement for fees and disbursements, including
      those accrued through October 31, 2023.
 6

 7    Matthew A. Lopes, Jr., Special Master
               Services                                      $25,341.00
 8
               Disbursements                                 $43,306.97
 9
                                          Total amount due                  $68,647.97
10
      Kerry F. Walsh, J.D., Deputy Special Master
11              Services                                     $37,013.00
                Disbursements                                $     0.00
12
                                          Total amount due                  $37,013.00
13
      Kristina M. Hector, J.D.
14
                Services                                     $35,602.50
15              Disbursements                                $     0.00

16                                        Total amount due                  $35,602.50

17    Steven W. Raffa, J.D.
                Services                                     $27,659.50
18              Disbursements                                $     0.00
19                                        Total amount due                  $27,659.50
20    Regina M. Costa, MSW., J.D.
21              Services                                     $35,602.50
                Disbursements                                $     0.00
22
                                          Total amount due                  $35,602.50
23
      LaTri-c-ea McClendon-Hunt, J.D.
24               Services                                    $38,115.50
                 Disbursements                               $     0.00
25
                                          Total amount due                  $38,115.50
26
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     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 4 of 7


 1    Michael F. Ryan, Jr.
                Services                             $35,665.50
 2              Disbursements                        $     0.00
 3
                                  Total amount due                $35,665.50
 4
      Michael A. Milas
 5              Services                             $36,689.50
                Disbursements                        $     0.00
 6
                                  Total amount due                $36,689.50
 7
      Mario R. McClain, Jr.
 8              Services                             $39,494.50
                Disbursements                        $     0.00
 9

10                                Total amount due                $39,494.50

11    Alison A. Tate
                Services                             $45,717.00
12              Disbursements                        $     0.00
13                                Total amount due                $45,717.00
14    Mitchell J. Young
15                Services                           $39,426.50
                  Disbursements                      $     0.00
16
                                  Total amount due                $39,426.50
17
      Rachel Gribbin
18              Services                             $24,601.00
                Disbursements                        $     0.00
19
                                  Total amount due                $24,601.00
20
      Lana L. Lopez
21
                Services                             $30,400.00
22              Disbursements                        $     0.00

23                                Total amount due                $30,400.00

24    Sofia A. Millham
                Services                             $24,130.00
25              Disbursements                        $     0.00
26                                Total amount due                $24,130.00
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     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 5 of 7


 1    Kerry C. Hughes, M.D.
                Services                               $42,457.00
 2              Disbursements                          $ 930.62
 3
                                    Total amount due                $43,387.62
 4
      Jeffrey L. Metzner, M.D.
 5               Services                              $19,588.00
                 Disbursements                         $ 4,637.25
 6
                                    Total amount due                $24,225.25
 7
      Mary Perrien, Ph.D.
 8              Services                               $15,187.00
                Disbursements                          $ 1,891.28
 9

10                                  Total amount due                $17,078.28

11    Patricia M. Williams, J.D.
                 Services                              $40,516.00
12               Disbursements                         $ 1,814.73

13                                  Total amount due                $42,330.73
14    Henry A. Dlugacz, MSW, J.D.
15              Services                               $25,656.00
                Disbursements                          $ 5,712.29
16
                                    Total amount due                $31,368.29
17
      Lindsay M. Hayes
18             Services                                $41,515.00
               Disbursements                           $ 4,072.36
19
                                    Total amount due                $45,587.36
20
      Timothy A. Rougeux
21
               Services                                $19,872.83
22             Disbursements                           $ 665.83

23                                  Total amount due                $20,538.66

24    Maria Masotta, Psy.D.
               Services                                $13,597.00
25             Disbursements                           $ 922.50
26
                                    Total amount due                $14,519.50
27

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     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 6 of 7


 1    Karen Rea PHN, MSN, FNP
                Services                              $15,787.00
 2              Disbursements                         $ 783.85
 3
                                   Total amount due                $16,570.85
 4
      James F. DeGroot, Ph.D.
 5              Services                              $ 2,525.00
                Disbursements                         $     0.00
 6
                                   Total amount due                $ 2,525.00
 7
      Brian J. Main, Psy.D.
 8              Services                              $17,460.00
                Disbursements                         $ 2,011.22
 9

10                                 Total amount due                $19,471.22

11    Sharen Barboza, PhD.
                Services                              $13,499.00
12              Disbursements                         $ 2,544.52

13                                 Total amount due                $16,043.52
14    Daniel F. Potter, PhD.
                 Services                             $40,100.00
15               Disbursements                        $     0.00
16
                                   Total amount due                $40,100.00
17
      Brett L. Johnson, M.D.
18               Services                             $44,374.33
                 Disbursements                        $ 3,494.06
19
                                   Total amount due                $47,868.39
20
      Alberto F. Caton
21               Services                             $ 3,102.00
22               Disbursements                        $     0.00

23                                 Total amount due                $ 3,102.00

24    Marcus R. Patterson, PsyD.
                Services                              $15,879.00
25              Disbursements                         $ 1,844.82
26                                 Total amount due                $17,723.82
27

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     Case 2:90-cv-00520-KJM-DB Document 8077 Filed 12/05/23 Page 7 of 7


 1    TOTAL AMOUNT TO BE REIMBURSED                                           $921,205.46
 2
      Receipts for justification of reported expenditures are available upon request.
 3
      Respectfully submitted,
 4
      /s/ Matthew A. Lopes, Jr.
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 6    Matthew A. Lopes, Jr.
      Special Master
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